
81 So.3d 613 (2012)
Daniel WATERMAN, Appellant,
v.
DARNELL, INC., Appellee.
No. 3D10-3007.
District Court of Appeal of Florida, Third District.
March 7, 2012.
Robert N. Pelier and Richard Lorenzo, Coral Gables, for appellant.
Isriel, Ponzoli, Keller &amp; Simpson, and Brian Yosef, Miami, for appellee.
Before RAMIREZ, SHEPHERD, and SUAREZ, JJ.
PER CURIAM.
Affirmed. See Onderko v. Advanced Auto Ins., Inc., 477 So.2d 1026 (Fla. 2d DCA 1985); Sabin v. Lowe's, Inc., 404 So.2d 772 (Fla. 5th DCA 1981); see also Central Nat'l Bank v. Muskat Corp., 430 So.2d 957 (Fla. 3d DCA 1983).
